                         UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CIVIL ACTION NO. 1:23-CV-00077-WO-LPA

 AMY BRYANT, M.D.,                              )
                                                )
               Plaintiff,                       )      RESPONSE OF KODY H. KINSLEY,
 v.                                             )      IN HIS OFFICIAL CAPACITY AS
                                                )      SECRETARY OF THE NORTH
 JOSHUA H. STEIN in his official capacity as    )      CAROLINA DEPARTMENT OF
 Attorney General for the State of North        )      HEALTH AND HUMAN SERVICES,
 Carolina, et al.,                              )      TO MOTION TO INTERVENE AS
                                                )      DEFENDANTS
             Defendants.                        )
 _____________________________________          )

       Defendant Kody H. Kinsley, in his official capacity as Secretary of the North Carolina

Department of Health and Human Services (“DHHS”), by and through undersigned counsel,

hereby responds to the Motion to Intervene as Defendants filed by Phillip E. Berger and Timothy

K. Moore (DE 29). DHHS does not oppose the motion to intervene.

       Dated this the 1st day of March, 2023.

                                                    Respectfully submitted,

                                                      /s/ Michael T. Wood
                                                    _________________________________
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                                                    capacity as Secretary of the North Carolina
                                                    Department of Health and Human Services




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